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10   Counsel for Defendant Clark County School
     District
11
                              THE UNITED STATES DISTRICT COURT
12
                                  FOR THE DISTRICT OF NEVADA
13

14   MONICA BRANCH-NOTO, individually and on                Case No. 2:21-cv-01507-JAD-DJA
     behalf of JOHN DOE MINOR NO. 1, as guardian of
15   said minor, TIFFANY PAULSON, individually and
     on behalf of JOHN DOES MINOR NO. 2 and JANE            CCSD’S RESPONSE IN OPPOSITION
16   DOE MINOR NO. 1, as guardian of said minors,           TO PLAINTIFFS’ EMERGENCY
17                                                          MOTION FOR PRELIMINARY
                                 Plaintiffs,                INJUNCTION [ECF #8]
18
             v.
19
     STEPHEN F. SISOLAK, in his official capacity as
20   Governor of the State of Nevada, AARON
     DARNELL FORD, in his official capacity as the
21   Attorney General of the State of Nevada, CLARK
22   COUNTY SCHOOL DISTRICT, a public entity,
     DOES 1 Trough 100,
23
                                 Defendants.
24

25           Clark County School District (“CCSD”), by and through its undersigned counsel,

26   GREENBERG TRAURIG, LLP, hereby submits this Response in Opposition to Plaintiffs’ Emergency

27   Motion for Preliminary Injunction [ECF #8] (“Response”).

28

                                                    1
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 1                            MEMORANDUM OF POINTS AND AUTHORITIES
 2                   Plaintiffs agree that no one has the right to expose the community to
                     communicable disease.
 3
                                                                               Motion at 23:5-6.
 4

 5                                                INTRODUCTION
 6             Plaintiffs’ Emergency Motion for Preliminary Injunction (“Motion”) seeks an extraordinary
 7   and drastic remedy that must be denied. Plaintiffs do not establish by a preponderance of the evidence
 8   the four factors required to grant injunctive relief: 1) Plaintiffs are not likely to succeed on the merits
 9   of their case; 2) Plaintiffs are not likely to suffer irreparable harm absent injunctive relief; 3) the
                                                                                                     1
10   balance of equities tips in CCSD’s favor; and 4) an injunction is not in the public interest. In fact,
11   Plaintiffs’ challenges to the constitutionality of CCSD’s mask requirement have no basis in law or fact
12   and do not come close to meeting the requirements of injunctive relief. As demonstrated in CCSD’s
13   Motion to Dismiss filed concurrently herewith, this Court should dismiss Plaintiffs’ claims with
14   prejudice, and should deny this Motion.
15             None of Plaintiffs’ theories state viable claims under federal law, much less show likelihood
16   of success on the merits. In their Complaint [ECF #1], Plaintiffs argue the Constitution gives students
17   the right to an “unhindered education” in a normalized setting and gives parents the right to send their
18   children to school “freely.” Now, in seeking injunctive relief, Plaintiffs go beyond the allegations in
19   their Complaint to argue that mask wearing is a medical decision with which CCSD’s Policy interferes.
20   The common flaw in Plaintiffs’ theories is the failure to identify a protected liberty interest or
21   fundamental constitutional right to decide whether their child (and in turn all children enrolled in
22   CCSD) should wear a mask at school. Additionally, Plaintiffs will not be able to overcome the
23   mounting legal authority in this Circuit and others finding that school mask requirements directed at
24   mitigating the spread of COVID-19 satisfy rational basis review. As a result, Plaintiffs have not shown
25

26

27

28   1
         Winter v. Natural Resources Defense Council, 129 S. Ct. 365, 374 (2008).
                                                            2
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 1   and cannot show, by a preponderance of the evidence, that they are likely to succeed on the merits of
                                                                              2
 2   their federal claims asserting violations of constitutional rights.
 3             Similarly, Plaintiffs do not show they are at risk of irreparable harm if this Court denies
 4   injunctive relief. Because CCSD’s Policy does not implicate a constitutionally protected right, there
 5   is no risk of a constitutional violation or injury. Nor have Plaintiffs demonstrated any constitutional
 6   injury or risk of irreparable harm to the health of students. Not even the sources cited by Plaintiffs
 7   support the argument that masks cause significant harm to student health. At most, Plaintiffs identify
 8   potential harm as discomfort and inconvenience related to wearing a mask. However, this does not
 9   meet the standard for irreparable harm.
10             Finally, Plaintiffs are not entitled to injunctive relief because the balance of hardships and the
11   public interest weigh in CCSD’s favor. Numerous experts strongly recommend the use of face
12   coverings in school as a method of source control to prevent transmission of COVID-19.                           A
13   community approach to infection control is reasonable and necessary under the current circumstances
14   and benefits the public interest. Furthermore, an injunction of CCSD’s Mask Policy would undermine
15   its efforts to maintain safe in-person instruction for all students as well as its employees.
16             Plaintiffs Motion does not satisfy any of the elements required to obtain injunctive relief;
17   therefore, it should be denied.
18                                    RELEVANT FACTUAL BACKGROUND
19   I.        CURRENT STATE OF THE COVID-19 PANDEMIC
20             COVID-19 is an illness caused by a highly transmissible coronavirus that has been circulating
                                                             3
21   in the U.S. since approximately January 2020.               This virus is spread by breathing air close to an
                                                                                                                        4
22   infected person or touching eyes, nose, or mouth with hands that are contaminated with the virus.
23   Those infected who can spread the virus include persons of any age who are symptomatic,
24

25   2
         In the instant Motion, Plaintiffs requested relief is premised solely on a likelihood of success on Plaintiffs’
26        federal claims. The Motion does not address the merits of their claims for negligence or intentional infliction
          of emotional distress; therefore, CCSD does not address the deficiencies of those claims here.
     3
27       Center for Disease Control, How Coronavirus Spreads | CDC (last accessed                            10/4/2021),
        https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html
28   4
       Id.
                                                                 3
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                                              5
 1   asymptomatic and/or vaccinated.              While people with COVID-19 have a wide range of symptoms
                                                                                                              6
 2   from mild to severe, the most common are fever, chills, cough, fatigue and difficulty breathing.             As
 3   of October 5, 2021, the U.S. has reported a total of 43,605,623 confirmed cases of COVID-19 (roughly
                                                                                                                    7
 4   1 out of every 7 Americans) and 700,176 related deaths (roughly 1 out of every 500 Americans).
 5   Clark County has consistently been a COVID-19 hot spot and is ranked the 13th highest county with
                                                            8
 6   322,524 total confirmed cases of COVID-19.                 Out of that total, 42,047 of those cases have been
                                          9
 7   children under 17 years of age. The SNHD reports that 390 children have been hospitalized and 6
                                                  10
 8   children have died from COVID-19.
 9              In July 2021, Delta became the predominant variant of the virus in the U.S., with on average
                                                                           11
10   one Delta infected person transmitting the virus to 5 people.              This re-focused mitigation measures
11   on source control (i.e., limiting the spread of large droplets from an infected person’s nose or mouth).
12   In addition to being substantially more transmissible, the CDC reports that the Delta variant might
                                                                                      12
13   cause more severe illness than previous strains in unvaccinated people.               Children under 12 years of
                                                                                13
14   age are not currently approved to receive a COVID-19 vaccine.
15   II.        TRANSMISSION OF COVID-19 IN CLARK COUNTY
16              As of October 5, 2021, the CDC lists community transmission in Clark County as “high” with
                                                  14
17   a COVID-19 positivity rate of 7.4%.               Likewise, the White House COVID-19 Team recently issued
18
     5
19     Delta Variant: What We Know About the Science | CDC (last accessed 10/4/2021),
        https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.htm
20   6
       Symptoms of COVID-19 | CDC (last accessed 10/4/2021), https://www.cdc.gov/coronavirus/2019-
        ncov/symptoms-testing/symptoms.html
21   7
        CDC COVID Data Tracker; Home - Johns Hopkins Coronavirus Resource Center (jhu.edu) (last accessed
        10/4/2021), https://coronavirus.jhu.edu/
22   8
       COVID-19 Case and Vaccine Data – Southern Nevada Health District | COVID-19 (last accessed 10/4/2021),
23      http://covid.southernnevadahealthdistrict.org/cases/; COVID-19 United States Cases by County - Johns
     9
        Hopkins Coronavirus Resource Center (jhu.edu) (last accessed 10/4/2021), https://coronavirus.jhu.edu/us-map
24      See SNHD Report dated October 4, 2021 attached hereto as Exhibit A. .20211004-Daily-Aggregate-
        COVID19.pdf (southernnevadahealthdistrict.org)
     10
25      Id.
     11
        Center for Disease Control, Delta Variant: What We Know About the Science | CDC (last accessed 10/4/2021),
26      https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.htm
     12
        Id.
27
     14
28        CDC COVID Data Tracker (last accessed 10/4/2021), https://covid.cdc.gov/covid-data-
          tracker/#vaccinations_vacc-total-admin-rate-total
                                                                4
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 1   a Report identifying Clark County as a “sustained hot spot” meaning there is a higher risk for
                                                         15
 2   experiencing healthcare resource limitations.             The SNHD reports 3,133 confirmed new cases
                                                          16
 3   reported from September 27 to October 4, 2021.
 4   III.    COVID-19 IN INDIVIDUALS UNDER 18
 5           While Plaintiffs suggest that children are immune from COVID-19, that is unfortunately not
 6   accurate. Most children who become infected with COVID-19 have only a mild illness; however, the
 7   Mayo Clinic linked Multisystem Inflammatory Syndrome in Children (MIS-C) to COVID-19 in rare
                    17
 8   instances.          The Southern Nevada Health District has reported 83 confirmed cases of MIS-C in Clark
               18
 9   County.
10           According to the American Academy of Pediatrics, over 5.5 million children have contracted
11   COVID-19.19 Notably, 1 million new pediatric cases were added nationwide since the start of the
                                         20
12   school year in August 2021.              The CDC has also reported that weekly COVID-19 associated
13   hospitalization rates among children and adolescents increased by 5 times since late June 2021 due to
                                                                          21
14   the Delta variant and increased exposure to the virus at school.
15   IV.     FEDERAL AND STATE GUIDANCE TO MITIGATE THE SPREAD OF COVID-19
             IN SCHOOLS
16

17           Given the current vaccine coverage and high transmissibility of the Delta variant, the scientific

18

19
     15
20      COVID-19 Community Profile Report | HealthData.gov. (last accessed 10/4/2021),
        https://healthdata.gov/Health/COVID-19-Community-Profile-Report/gqxm-d9w9
     16
21      COVID-19 Case and Vaccine Data – Southern Nevada Health District | COVID-19 (last accessed 10/4/2021),
        http://covid.southernnevadahealthdistrict.org/cases/
22   17
        Multisystem inflammatory syndrome in children (MIS-C) and COVID-19 - Symptoms and causes - Mayo Clinic
        (last accessed 10/4/2021), https://www.mayoclinic.org/diseases-conditions/mis-c-in-kids-covid-19/symptoms-
23      causes/syc-20502550
     18
        COVID-19 Case and Vaccine Data – Southern Nevada Health District | COVID-19 (last accessed 10/4/2021),
24      http://covid.southernnevadahealthdistrict.org/cases/
     19
25      Children and COVID-19: State-Level Data Report (aap.org) (last accessed 10/4/2021),
        https://www.aap.org/en/pages/2019-novel-coronavirus-covid-19-infections/children-and-covid-19-state-level-
26   20
        data-report/
        Id.
     21
27      Hospitalizations Associated with COVID-19 Among Children and Adolescents — COVID-NET, 14 States,
        March 1, 2020–August 14, 2021 | MMWR (cdc.gov) (last accessed 10/4/2021),
28      https://www.cdc.gov/mmwr/volumes/70/wr/mm7036e2.htm
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                                                                                                                 22
 1   community recommends layered prevention strategies to mitigate the spread of COVID-19. Mask
 2   wearing is important in environments such as schools which bring people in close contact for
 3   prolonged periods. Research has shown that especially indoors where maintaining social distancing
                                                                                 23
 4   is difficult, wearing a mask reduces the spread of COVID-19.                     More specifically, recent studies
 5   show that school districts without a universal masking policy were 3 times more likely to have
                                 24
 6   COVID-19 outbreaks.              Masks work because COVID-19 infection is primarily spread through
 7   exposure to large respiratory droplets exhaled by infected people when they breathe, talk, cough,
                        25
 8   sneeze or sing.         Contrary to Plaintiffs’ opinions, research has also shown that mask wearing has no
                                                                                 26
 9   significant adverse health effects for wearers, including children.
10              Universal indoor masking by all students, staff, teachers, and visitors to K-12 schools
                                                                            27                                          28
11   regardless of vaccination status is recommended by the CDC, the American Academy of Pediatrics,
                                                 29                                                   30
12   the U.S. Department of Education,                and the Southern Nevada Health District              for schools in
13

14   22
          Center for Disease Control, Delta Variant: What We Know About the Science | CDC (last accessed 10/4/2021),
          https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.htm
15   23
          Science Brief: Community Use of Cloth Masks to Control the Spread of SARS-CoV-2 | CDC (last accessed
16        10/4/2021), https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/masking-science-sars-
          cov2.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
17        ncov%2Fmore%2Fmasking-science-sars-cov2.html. Multi-layer cloth masks can both block between 50-70% of
          exhaled respiratory particles and limit the forward spread of those that are not captured.
18   24
          Studies Show More COVID-19 Cases in Areas Without School Masking Policies | CDC Online Newsroom | CDC
          (10/21/2021), https://www.cdc.gov/media/releases/2021/p0924-school-masking.htmlThe studies also found that
19        counties without masking requirements saw the number of pediatric cases increase twice as quickly during the two
          weeks following the start of the school year.
20   25
          See CDC data slides on the science of masking attached hereto as Exhibit B.
21   26
        Id. Assessment of Respiratory Function in Infants and Young Children Wearing Face Masks During the COVID-
22      19 Pandemic. - Abstract - Europe PMC (3/1/2021), https://europepmc.org/article/PMC/PMC7926283. Further,
        while some studies have found an increase in reports of difficulty breathing when exercising in face masks, no
23      physiologic differences were identified.
     27
        Guidance for COVID-19 Prevention in K-12 Schools | CDC (last accessed 10/4/2021),
24      https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/k-12-guidance.html
     28
        COVID-19 Guidance for Safe Schools (aap.org) (last accessed 10/4/2021), https://www.aap.org/en/pages/2019-
25      novel-coronavirus-covid-19-infections/clinical-guidance/covid-19-planning-considerations-return-to-in-person-
        education-in-schools/
     29
26      ED       COVID-19        Handbook,         Volume       1      (PDF)       (last     accessed       10/4/2021),
        https://www2.ed.gov/documents/coronavirus/reopening.pdf?source=email; see U.S. Dept. of Ed. Strategies for
27      Safely Reopening Schools attached hereto as Exhibit C.
     30
        20210729-Mask-Guidance.pdf (southernnevadahealthdistrict.org),
28      https://media.southernnevadahealthdistrict.org/download/hot-topics/2021/20210729-Mask-Guidance.pdf
                                                                6
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 1   communities with high transmission levels of COVID-19 (like Clark County). In fact, the U.S.
 2   Department of Education’s Office for Civil Rights (“OCR”) is currently investigating at least 8 states
                                                                                  31
 3   which have prohibited its schools from adopting mask requirements.                “OCR is concerned that state
 4   mask restrictions on school districts may be preventing schools from meeting their legal obligations
 5   not to discriminate based on disability and from providing an equal educational opportunity to students
                                                                                             32
 6   with disabilities who are at heightened risk of severe illness from COVID-19.”
 7            In July 2021, Governor Sisolak issued Emergency Order 047 (“EO47”) in response to the
 8   climbing COVID-19 test positivity rate which reached over 15% and updated guidance from the CDC
 9   recommending universal masking in schools for all students and staff, regardless of vaccination status.
10   EO47 required non-exempt individuals to cover their nose and mouth with a mask or face covering in
11   a manner consistent with the guidance issued by the CDC. Shortly thereafter, on August 4, 2021,
12   Governor Sisolak issued Emergency Order 048 (“EO48”) which requires face coverings in all public,
                                     33
13   charter, and private schools.        The SNHD reports overall cases have been decreasing since August
                                                34
14   2021 when masks again were required.
15   V.      CCSD’S MASK POLICY
16           Directed by EO47 and aligned with guidance from the CDC, AAP and SNHD, the Clark
17   County School District issued updated health and safety protocols which include a mask policy for the
18   start of the 2021 school year (“CCSD Policy”). Further, as a recipient of federal funds under the
19   American Rescue Plan (ARP) Act, CCSD was required by federal law to “adopt a plan for the safe
20

21
     31
22      Department of Education's Office for Civil Rights Opens Investigations in Five States Regarding Prohibitions of
        Universal Indoor Masking | U.S. Department of Education (8/30/2021), https://www.ed.gov/news/press-
23      releases/department-educations-office-civil-rights-opens-investigations-five-states-regarding-prohibitions-
        universal-indoor-masking
     32
24      Id.; Meeting the President's Call to Support the Safe and Sustained Reopening of Schools - ED.gov Blog
        (8/18/2021), https://blog.ed.gov/2021/08/meeting-the-presidents-call-to-support-the-safe-and-sustained-
25      reopening-of-schools/
     33
         Declaration-of-Emergency-Directive-048.pdf (nv.gov) (8/4/2021), https://nvhealthresponse.nv.gov/wp-
26      content/uploads/2021/08/Declaration-of-Emergency-Directive-048.pdf
     34
        20210923-COVID-19-Trends-Clark-County-PUBLIC.pdf (southernnevadahealthdistrict.org) (9/23/2021),
27      https://media.southernnevadahealthdistrict.org/download/COVID-19/updates/2021/September/20210923-
        COVID-19-Trends-Clark-County-PUBLIC.pdf. This data suggests that kids in school masked are safer than kids
28      unmasked at home.
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                                                                    35
 1   return to in-person instruction and continuity of services”.
 2           For the 2021-2022 school year, students attending CCSD were given the option to attend in
 3   person or enroll in an online program known as Nevada Learning Academy at CCSD (“NVLA”). See
 4   Declaration of Monica Cortez attached hereto as Exhibit D, ¶6.               CCSD expanded the services
 5   provided through NVLA to include elementary school instruction and hired teachers and staff
 6   dedicated to the program. Id. Families had up to and until September 10, 2021 to enroll students in
 7   NVLA. Id. Students not enrolled in NVLA or other online program returned to the classroom on
 8   August 9, 2021 and were required to wear masks consistent with CCSD Policy.
 9           Per CCSD Policy, face masks are required to be worn indoors, including all CCSD buildings,
                                                                                                                 36
10   facilities, and on school busses by all individuals ages two and older regardless of vaccination status.
11   Students actively exercising while at recess or in P.E. do not need to wear a face mask if activities are
12   taking place outdoors. See Exhibit F. Students who cannot safely wear a mask due to a disability or
13   medical condition, can request an accommodation such as a plastic face shield. See Exhibit D, ¶10.
14           Plaintiffs do not identify any students which have been expelled or suspended for refusal to
15   wear a mask.        Likewise, Plaintiffs do not allege that any students were denied reasonable
16   accommodation despite meeting requirements to obtain an exemption. CCSD has no record of the
17   student Plaintiffs or their parents requesting such an accommodation or opting to enroll in CCSD’s
18   distance education program to avoid the purportedly harmful effects of mask wearing.
19        PLAINTIFFS’ ALLEGED FACTS DO NOT SUPPORT THEIR REQUESTED RELIEF
20           A primary focus in Plaintiffs’ Motion is the purported “lack of consistent science justifying
21   mask mandates.” (Mot., 4:18-19). This argument misses the mark for several reasons and does not
22   provide a basis to grant injunctive relief. First, any evidence of face coverings reducing community
23   spread of COVID-19 by any amount, justifies CCSD’s Policy under rational basis review. Therefore,
24   Plaintiffs’ alleged inconsistencies do not weigh in favor of injunctive relief. Second, Plaintiffs’ own
25

26   35
       21-007071-Letter-from-Secretary-Cardona-Tennessee.pdf (ed.gov); American Rescue Plan Elementary and
        Secondary School Emergency Relief - Office of Elementary and Secondary Education (8/18/2021),
27      https://oese.ed.gov/offices/american-rescue-plan/american-rescue-plan-elementary-and-secondary-school-
     36 emergency-relief/
28     See CCSD’s Mask Policy attached hereto as Exhibit E.
                                                           8
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 1   sources do not support their contentions.
 2   I.      PLAINTIFFS’ ALLEGED FACTS LACK CITATIONS.
 3           While the Motion questions guidance from sources in the scientific community like the CDC,
 4   many of Plaintiffs’ purported “facts” have no citation to any source. For example, Plaintiffs’ Exhibit
 5   3 identifies the following “health consequences” from wearing a mask: stress, inflammation, fear,
 6   cancer, diabetes, Alzheimer’s disease, accelerated aging, health deterioration, exacerbation of existing
 7   conditions and pre-disposition for future infections and illnesses. Another example is Plaintiffs
 8   reference to data on a “COVID-19 School Response Dashboard” with no citation. While Plaintiffs
 9   argue the Dashboard found that “schools and school districts without mask mandates had lower case
10   rates than schools with mandates,” (Mot., 9:28) Plaintiffs do not cite to any specific data or
                                                                    37
11   interpretation of the data that supports this conclusion.           Notably, Plaintiffs do not address the
12   recently published study from Arizona comparing case rates in similarly situated schools which found
13   that those without mask requirements were 3.5 times more likely to experience an outbreak of COVID-
                                                                                                       38
14   19 compared to schools that started the 2021-2022 school year with mask requirements.                  Plaintiffs
15   also ignore data showing areas without mask requirements have a higher death toll from COVID-19
                39
16   per capita.
17

18

19
     37
20      While Plaintiffs reference a “COVID-19 School Response Dashboard” they do not cite to any dashboard or
        any studies or interpretation of such data. To the extent Plaintiffs are referencing COVID-19 School
21      Response Dashboard (last accessed 10/8/2021) (https://covidschooldashboard.com/), the website states its
        data is through May 2021 and does not include recent data from this school year where the majority of schools
22      have reopened for in-person learning.
     38
23      Association Between K–12 School Mask Policies and School-Associated COVID-19 Outbreaks — Maricopa
         and Pima Counties, Arizona, July–August 2021 | MMWR (cdc.gov) (last accessed 10/8/2021),
24       https://www.cdc.gov/mmwr/volumes/70/wr/mm7039e1.htm?s_cid=mm7039e1_w; Pediatric COVID-19
         Cases in Counties With and Without School Mask Requirements — United States, July 1–September 4,
25       2021           |         MMWR              (cdc.gov)           (last         accessed           10/8/2021),
         https://www.cdc.gov/mmwr/volumes/70/wr/mm7039e3.htm?s_cid=mm7039e3_w
26   39
        Tennessee Areas Without Mask Requirements Have Higher Death Toll Per Capita | Department of Health
        Policy (vumc.org) (November 10, 2020), https://www.vumc.org/health-policy/news-events/tennessee-areas-
27      without-mask-requirements-have-higher-death-toll-capita; Trends in County-Level COVID-19 Incidence in
        Counties With and Without a Mask Mandate — Kansas, June 1–August 23, 2020 | MMWR (cdc.gov)
28      (November 27, 2020), https://www.cdc.gov/mmwr/volumes/69/wr/mm6947e2.htm
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 1   II.     PLAINTIFFS’ SOURCES SUPPORT CCSD’S POLICY
 2             Plaintiffs argue that face coverings are not beneficial for students because they may not work
 3   perfectly 100% of the time (i.e., some virus can pass through) (Mot., 4:5-17; 10:23-24). In support,
 4   Plaintiffs cite an article from April 2020, a year and a half ago, which states that at that time there was
 5   “limited knowledge available on the performance of various commonly available fabrics used in cloth
              40
 6   masks.”       Nevertheless, the study discussed in Plaintiffs’ cited article found that “combinations of
 7   various commonly available fabrics used in cloth masks can potentially provide significant protection
 8   against the transmission of aerosol particles.” In another example, Plaintiffs cite to a 2019 study on
                                                                          41
 9   the presence of virus on masks used by healthcare workers.                Finally, Plaintiffs cite to June 2020
                                       42
10   interim guidance by the WHO which states:
11                   “The use of masks is part of a comprehensive package of the prevention and
12           control measures that can limit the spread of certain respiratory viral diseases,
             including COVID-19. Masks can be used either for protection of healthy persons
13           (worn to protect oneself when in contact with an infected individual) or for source
             control (worn by an infected individual to prevent onward transmission).”
14
                     “WHO has updated its guidance to advise that to prevent COVID-19
15
             transmission effectively in areas of community transmission, governments should
16           encourage the general public to wear masks in specific situations and settings as
             part of a comprehensive approach to suppress SARS-CoV-2 transmission.”
17                                                                                                               43
     Noticeably absent from Plaintiffs’ own sources is the conclusion that masks are not beneficial.                  As
18
     discussed above, measures to curb transmission of COVID-19 have been studied extensively for the
19
     last 18 months and have shown that while layered mitigation strategies are best, masks are an integral
20

21   40
        See Plaintiffs’ footnote i.
22   41
        See Plaintiffs’ footnote vii. The study found “respiratory pathogens on the outer surface of the used medical
        masks may result in self-contamination. The risk is higher with higher rates of clinical contact.” Here,
23
        Plaintiffs ignore that infected particles on a health care worker’s mask are likely to come from patients
24      whereas in source control, the person wearing a mask is the most likely source of any virus on it. Thus, self-
        contamination is not a concern.
     42
25      See Plaintiffs’ footnote vi.
     43
        Prior to the COVID-19 pandemic, most research on face coverings were undertaken in the context of health
26      care workers and considered the extent to which they protect the wearer. The current question is whether
        face coverings protect other people from droplets emitted by the wearer—a measure known as source control.
27      Source control works in a different way to wearer-protection—by blocking large droplets as they are emitted
        by an infected person when they talk, sneeze or cough. On the other hand, face coverings protect the wearer
28      by blocking tiny, aerosolized particles. The goal is to substantially reduce the transmission rate of the virus.
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 1   part of mitigation strategy and source control.
 2   III.     PLAINTIFFS’ SOURCES DO NOT DEMONSTRATE THAT MASKS CAUSE
              MENTAL OR PHYSICAL HARM.
 3
              While Plaintiffs claim, “the medical community has provided ample evidence of the irreparable
 4
     harm that such mandates will have on students,” Plaintiffs’ citations do not support this conclusion.
 5
     (Mot., 6-7; 10:9-13; 11:11-12:4, 21:3-4). For example, much of Plaintiffs argument regarding the
 6
     negative mental health effects of masks are taken directly from an opinion article written by a freelance
 7                                             44
     writer in Utah for the “Desert News”.          There, the Utah writer opines that masking children “does
 8
     more harm than good” based on her discussions with school teachers who say masks cause anxiety
 9                                                                                     45
     because students are worried they will make everyone around them sick.                 Plaintiffs also cite to an
10
     article from the New York Times discussing reasons why the COVID-19 pandemic has increased
11                                                        46
     depression and anxiety in the 18-24 age group.            The August 2020 article suggests high stress in this
12
     group stems from “worry about their personal future and worry about the larger future.” The article
13
     does not mention masks as a potential cause.
14
              Likewise, Plaintiffs’ citations do not support a conclusion that masks cause physical harm. For
15
     example, Plaintiffs cite an article discussing increase in levels of carbon dioxide detected in children
16                                                  47
     for the first 3 minutes of wearing a mask.          Physicians interviewed for the article stated the increase
17
     was not physiologically significant, not dangerous, and that it may take a few minutes for kids to
18
     acclimate to the mask and breathe normally. Ironically, one physician quoted in the article stated,
19
                     “the wrong thing to do would be to draw conclusions from this small study that
20                   these levels of carbon dioxide are causing trouble. Before COVID, surgeons
21                   would be doing surgeries for 18 hours at a time wearing a mask and had no
                                   48
                     impairment.”
22
     Plaintiffs also cite to a 2005 study and May 2020 study of frontline healthcare workers who reported
23

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     44
25      See Plaintiffs’ footnote iv.
     45
        Fear is surely a reasonable response to a deadly pandemic that has so far affected millions and would likely
26
        increase if these mitigation measures were not in place.
     46
27      See Plaintiffs’ footnote xiii.
     47
        See Plaintiffs’ footnote v.
28   48
        Id.
                                                               11
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                                                                                                             49
 1   discomfort and headaches from wearing masks and multiple layers of PPE for hours on end.                     Finally,
                                                                                                                        50
 2   Plaintiffs cite to several articles written over 10 years ago which discuss how stress affects the body.
 3                                               LEGAL ARGUMENT
 4   I.      PLAINTIFFS DO NOT MEET THE STANDARD FOR INJUNCTIVE RELIEF
 5           “A preliminary injunction is an extraordinary and drastic remedy, one that should not be
 6   granted unless the movant, by a clear showing, carries the burden of persuasion.” S. Bay United
 7   Pentecostal Church v. Newsom, __ F.3d __, 2021 WL 222814, at *7 (9th Cir. Jan. 22, 2021); see
 8   Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (a preliminary injunction is an “extraordinary
 9   remedy never awarded as of right” (citation omitted)). To make this showing, Plaintiffs must
10   demonstrate that they are likely to succeed on the merits, that they are likely to suffer irreparable harm
11   in the absence of preliminary relief, that the balance of equities tips in their favor, and that an injunction
12   is in the public interest. S. Bay United Pentecostal Church, 2021 WL 222814, at *7 (first alteration
13   supplied). Plaintiffs have not and cannot meet this standard.
14   II.     PLAINTIFFS CANNOT SUCCEED                               ON      THE        MERITS         OF         THEIR
15           CONSTITUTIONAL CLAIMS
             Plaintiffs argue they are entitled to injunctive relief because they have at least “raised serious
16
                                                                               51
     questions” as to the merits of their federal claims against CCSD.              (Mot., 7:27-28). What Plaintiffs
17
     actually do is toss around legal concepts with no analysis.              Generalized statements of purported
18
     violations of Plaintiffs’ due process rights under the Fifth, Ninth and Fourteenth Amendments fall well
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                                  52
     short of what is required.        Plaintiffs must show they are likely to succeed on the merits of a claim
20

21
     49
22      See Plaintiffs’ footnote ix. Plaintiffs also cite to a September 2020 article that canvassed opinions of students
        in Belgium where some reported skin issues while wearing a mask. See footnote x.
23   50
        See Plaintiffs’ footnotes xi, xii, xiv.
     51
24      The Motion makes no reference to Plaintiffs’ state law claims of intentional infliction of emotional distress
        (Fourth Claim for Relief) and/or negligence claim (Sixth Claim for Relief) asserted in the Complaint as a
25      basis for the requested injunction. Accordingly, CCSD’s Response will not address these claims either.
        However, as set forth in CCSD’s Motion to Dismiss filed concurrently herewith, Plaintiffs are not likely to
26      succeed on either state law-based claim.
     52
         Plaintiffs’ federal claims include: 1) violation of the Ninth Amendment right to privacy (Fist Claim for
27      Relief); 2) violation of the privileges and immunities clause of the Fourteenth Amendment (Second Claim
        for Relief); 3) violation of the Due Process Clause of the Fourteenth Amendment (Third Claim for Relief);
28      and 4) violation of Equal Protection Clause of the Fifth and Fourteenth Amendments (Fifth Claim for Relief).
                                                             12
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 1   asserted in their Complaint and have failed to do so. Accordingly, this Response applies the concepts
 2   raised by Plaintiffs to their federal claims as pled in the Complaint.
 3             A.      Mask Wearing is a Safety Measure Related to Public Health.
 4             Attempting to conflate concerns regarding masks with constitutionally protected rights,
 5   Plaintiffs argue mask wearing is an important medical decision that parents have the right to make for
 6   their children. (Mot, 16:26-28; 18:13-20). While individuals generally have the right to make
 7   decisions regarding their own medical care and treatment, Plaintiffs’ contention that CCSD’s school
 8   policy equates to medical diagnosis or treatment of any condition is nonsensical. CCSD is not making
 9   medical decisions on behalf of parents, and moreover, the policy at issue provides for accommodations
                                                                              53
10   in cases where a student has a medical or developmental condition.            Additionally, families with
11   students enrolled at CCSD had the option at the beginning of the school year to attend school online
12   instead of attending in person and being subject to the CCSD Policy at issue. See Exhibit D, ¶6.
13   Therefore, Plaintiffs’ attempt to suggest that CCSD is taking away a parent’s medical decision should
14   be summarily discarded.
15             Because CCSD’s Policy does not involve a medical decision, Plaintiffs’ legal authority miss
16   the mark. Moreover, no case cited to by Plaintiffs considered constitutional rights in the context of
17   school safety measures. For example, Plaintiffs cite Mann v. County of San Diego, No. 16-56657 (9th
18   Cir. 2018) to argue CCSD’s Policy interferes with a parents’ right to make medical decisions for their
19   children. (Mot., 16:3-15). In Mann, the Ninth Circuit held that parents’ substantive due process rights
20   were violated when a court ordered their children placed in a shelter and physically examined for
21   suspected abuse before the parents provided consent. Id. Here, CCSD’s Policy does not involve any
22   examination or bodily intrusion. Plaintiffs also cite to Mueller v. Auker, 700 F.3d 1180, 1187 (9th Cir.
23   2012) to argue that only where there is an emergency and to protect the child’s health, can the state
24   supplant a parents’ rights to make their child’s medical decisions. (Mot., 16:16-25). In Mueller, the
25   Court found it did not violate the parents’ rights where an abused child was in critical condition in the
26

27
     53
          See Policy attached hereto as Exhibit E; Exhibit D, ¶10.
28
                                                          13
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 1   hospital and a social worker made a medical decision regarding the child’s treatment. Because CCSD
 2   is not making any medical decisions on behalf of the child, this case does not apply and CCSD does
 3   not need to demonstrate a medical emergency (although arguably the COVID-19 pandemic would
 4   qualify).
 5           Curiously absent from Plaintiffs’ Motion is any mention of the robust legal authority approving
 6   vaccine requirements for students across the country. See, e.g. Jacobson v. Massachusetts, 197 U.S.
 7   11, 39 (1905)(upholding Massachusetts law that allowed cities to require residents to be vaccinated
 8   against smallpox as a legitimate exercise of the state's police power to protect the public health and
 9   safety of its citizens); see Zucht v. King, 260 U.S. 174 (1922)(parents of a child excluded from school
10   due to her unvaccinated statues unsuccessfully challenged a local ordinance requiring vaccinations for
11   schoolchildren); see Phillips v. City of New York, 775 F.3d 538, 543 (2d Cir. 2015)(rejecting parents'
12   challenge to New York state requirement that all children be vaccinated in order to attend public school
13   notwithstanding the parents’ arguments that vaccines cause more harm to society than good); see
14   Workman v. Mingo County Bd. of Educ., 419 F. App'x 348 (4th Cir. 2011)(finding a local school board
15   did not violate due process by failing to admit a student to public school when she did not have the
16   state required immunizations). Given the ample authority supporting school vaccine requirements,
17   Plaintiffs’ arguments regarding CCSD’s mask mandate are not sustainable. Indeed, several courts that
18   have already evaluated the constitutionality of mask requirements have found mask mandates do not
19   violate individual liberties during a public health crisis relying on the foregoing case law. See In re
20   Abbot, 954 F.3d 772, 784 (5th Cir. 2020); In re Rutledge, 956 F.3d 1018, 1028 (8th Cir. 2020);
21   Maxwell v. Lee, 1:20-cv-1093-JDT-jay (W.D. Tenn. Jun. 29, 2020).
22           Moreover, several courts evaluating the constitutionality of vaccine mandates have declined to
23   grant injunctive relief. For example, in Whitlow v. California, 203 F. Supp. 3d 1079, 1081 (S.D. Cal.
24   2016), parents challenged a bill repealing the personal belief exemption to California's immunization
25   requirements for children entering public and private educational and childcare facilities in the State.
26   The parents claimed the new law violated their rights to due process by impinging on fundamental
27   liberties by denying children with personal belief exemptions the opportunity to attend school,
28   stigmatizing those children as "vectors of disease," and violating both parental rights regarding
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 1   decision-making concerning their child's health and education and the children’s' rights to bodily
 2   integrity. Id. at 1089. The Court found that imposing a mandatory vaccine requirement on school
 3   children as a condition of enrollment did not violate substantive due process. The Court also ruled
 4   that “the state’s interest in protecting the public health and safety, particularly the health and safety of
 5   children, does not depend on or need to correlate with the existence of a public health
                                                                                                                    54
 6   emergency.” Id. at 1090 (emphasis added). On those grounds, the Court denied injunctive relief.
 7                   A community has the right to protect itself against an epidemic of disease which
 8                   threatens the safety of its members" and "it was the duty of the constituted authorities
                     primarily to keep in view the welfare, comfort, and safety of the many, and not permit
 9                   the interests of the many to be subordinated to the wishes or convenience of the few.

10   Whitlow, 203 F. Supp. at 1083 (citing Jacobsen).
11              Stated simply, if courts do not conclude that vaccine requirements are medical decisions
12   reserved to parents, it is illogical to make such a conclusion here regarding masks. Therefore,
13   Plaintiffs are unlikely to succeed in arguing that CCSD’s Policy is in any way related to a parent’s
14   right to make medical decisions for their child or that CCSD’s Policy violated such a right. Based on
15   these theories, Plaintiffs’ federal claims are not likely to succeed on the merits.
16
                B.        Parents do not have a Ninth or Fourteenth Amendment Right to Direct Policy on
17                        School Safety.

18              The Supreme Court has ruled there is a “fundamental right of parents to make decisions

19   concerning the care, custody, and control of their children.” Troxel v. Granville, 530 U.S. 57, 66

20   (2000). However, despite Plaintiffs’ argument, these rights do not extend to dictating school policy.

21   The Ninth Circuit has dismissed parent challenges to public school curriculum and policies that were

22   based on theories like Plaintiffs’. Those cases clearly state that a parents’ constitutional rights related

23   to education are limited to choosing in which school to enroll their child.

24

25
     54
          While Plaintiffs’ attorney states in her declaration that “the principles of this case –liberty and security of
26        parents—are completely independent of the notion of COVID-19,” that is not supported by case law. (Ex. 1
          at ¶21)
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 1           For example, Plaintiffs in Fields v. Palmdale School District, 427 F.3d 1197 (9th Cir. 2005)
 2   challenged conduct authorized by their children’s’ school allowing a researcher to administer a survey
 3   that included questions on sexual topics.        The Plaintiffs claimed these actions violated their
 4   fundamental parental rights under the Ninth and Fourteenth Amendments to control the upbringing of
 5   their children, including the introduction and flow of sexual information. Id. at 1203. The Ninth
 6   Circuit held that parents’ due process or privacy right did not include the right to override the
 7   determinations of public school as to the information their children will be exposed to at school. Id.
 8   at 1190. Later, in an amended opinion, the Court extended its ruling further stating, “parents do not
 9   have a fundamental due process right generally to direct how a public school teaches their child.”
10   Fields v. Palmdale School District, 447 F.3d 1187, 1190 (9th Cir. 2006). In doing so, the Court
11   confirmed the limitation on parental rights applies to school policy generally, not simply challenges
12   related to curriculum.
13           The Ninth Circuit recently reaffirmed the limitation on parental rights over school decisions.
14   In Parents for Privacy v. Barr, 949 F.3d 1210 (9th Cir. 2020), the Parent Plaintiffs challenged an
15   Oregon school policy allowing transgender students to use school bathrooms, locker rooms and
16   showers that match their gender identity rather than their biological sex. Id. at 1218. The school
17   maintained it created the bathroom “student safety plan” for transgender students to ensure that those
18   students could safely participate in school activities. Id. The Plaintiff parents argued the policy caused
19   their children anxiety and fear of intimate exposure to or by a transgender person; therefore, it violated
20   their parental right to direct the education and upbringing of one’s children. Id. at 1217. The Court
21   dismissed Plaintiffs’ action with prejudice, holding that the parents’ fundamental right to make care
22   decisions regarding their children did not include the right to determine the bathroom policy of a public
23   school. Id. at 1218.
24           Although the Ninth Circuit has yet to consider the constitutionality of mask mandates at school,
25   other Courts with similar precedent to the Ninth Circuit have ruled that such mandates do not violate
26   the fundamental rights of parents and therefore dismissed parental challenges. See Resurrection Sch.
27   v. Hertel, No. 20-2256, 2021 WL 3721475, at *17 (6th Cir. Aug 23, 2021)(holding that school mask
28   mandates do not run afoul of the Fourteenth Amendment). In Resurrection Sch., the Plaintiffs alleged
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 1   that wearing a mask in the classroom interferes with the children’s ability to focus and breathe
 2   effectively. Id. at *1.
 3           Based on the foregoing, Plaintiffs are unlikely to demonstrate that their liberty interest in the
 4   care, custody and control of their child extends to school policy. As such, Plaintiffs’ federal claims
 5   based on such theories are not likely to succeed on the merits and do not support injunctive relief.
 6           C.      Public Education is Not a Right Granted to Individuals by the Constitution
 7           Plaintiffs contend that CCSD’s Policy violates a student’s right to be educated in a
 8   “normalized” setting. (Mot., 9:11). It is unclear if Plaintiffs are attempting to make this argument in
 9   support of their privileges and immunities claim (Second Claim for Relief) or due process claim (Third
10   Claim for Relief) or another claim asserted.         Irrespective, individuals do not have a federal
11   constitutional right to have the State affirmatively provide an education in any particular manner;
12   therefore, Plaintiffs are not likely to prevail on this legal theory either. See Kadrmas v. Dickinson
13   Pub. Schs., 487 U.S. 450, 458 (1988)(rejecting the proposition that education is a fundamental right
14   which should trigger strict scrutiny).
15           The Ninth Circuit recently ruled that students do not have a constitutional right to in-person
16   education. Brach v. Newsom, 20-56291 (9th Cir. July 23, 2021). There, the Ninth Circuit upheld a
17   district court ruling which rejected substantive due process claims of Plaintiffs who challenged
18   California’s decision to temporarily provide public education in an almost exclusively online format
19   during the COVID-19 pandemic. Likewise, Plaintiffs here do not have a constitutional right to attend
20   school without a mask during a pandemic. Therefore, Plaintiffs federal claims based on a purported
21   constitutional right to normalized education free of masks, is not likely to succeed on the merits and
22   does not support injunctive relief.
23                   D.        CCSD’s Policy is Constitutional because it Satisfies Rational Basis Review.
24                   Although Plaintiffs incorrectly argue CCSD’s policy triggers strict scrutiny, the Motion

25   concedes the Policy furthers a compelling interest—to stem the spread of COVID-19. (Mot., 19:23-

26   20:2). Therefore, even if strict scrutiny applied, which it does not, Plaintiffs dispel their own strict

27   scrutiny argument. CCSD’s Policy also does not trigger or interfere with Plaintiffs’ fundamental

28   rights; therefore, strict or heightened judicial scrutiny does not apply.
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 1           Moreover, Plaintiffs cannot demonstrate that CCSD’s Policy does not meet rational basis
 2   review. Under these circumstances, the Court evaluates the constitutionality of state actions for a
 3   rational basis, upholding the Policy if it is rationally related to a legitimate government purpose. See
 4   Brach v. Newsom, 20-56291, at *1 (9th Cir. July 23, 2021). To defeat rational basis, Plaintiffs must
 5   show that CCSD’s Policy bears no rational relation to a legitimate state interest. Since Plaintiffs
 6   concede the Policy furthers a compelling interest, the remaining issue is whether it has any rational
 7   relation to that interest in mitigating the spread of COVID-19. This element is easily satisfied.
 8           Legal precedent demonstrates that school mask requirements and other COVID-19 mitigation
 9   measures adopted by schools satisfy rational basis review. See Brach, 20-56291, at *1 (finding that
10   restrictions such as refusal to allow in-person public school instruction is rationally related to
11   furthering the legitimate state interest of abating the COVID-19 pandemic); see School, 2021 WL
12   3721475, at *17(“requiring masks in school minimizes the spread of COVID-19 and therefore bears
13   some rational relation to the legitimate state interest in controlling the spread of COVID-19”). Here,
14   given the high transmission rates in Clark County, and evidence that masks reduce community spread,
15   there is no question that CCSD’s Policy rationally related to the legitimate school interest of reducing
16   transmission and maintaining safe in-person instruction for all students. Accordingly, Plaintiffs are
17   not likely to succeed in arguing CCSD’s policy fails any constitutional test.
18           E.      Plaintiffs Fail to Demonstrate a Likelihood of Success on the Merits of any Federal
19                   Claim.

20             Instead of addressing the underlying elements required to prove any of Plaintiffs’ federal

21   claims asserted in the Complaint and demonstrating a likelihood of success on the same, the Motion

22   identifies broad legal concepts without analysis to argue CCSD’s mask mandate should be enjoined.

23   However, as detailed in CCSD’s Motion to dismiss filed concurrently herewith, they do not have a

24   legally cognizable basis to proceed on any of the claims asserted.

25             First, Plaintiffs are not likely to succeed on claims alleging a violation of the Ninth

26   Amendment right to privacy (First Claim for Relief ) based on the Ninth Circuit’s ruling in Fields v.

27   Palmdale School District, 427 F.3d 1197 (9th Cir. 2005), wherein the court held that parents’ due

28   process or privacy right did not include the right to override the determinations of public school as to
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 1   the information their children will be exposed to at school. Id. at 1190. As discussed above, given
 2   this Circuit’s narrow interpretation of privacy rights at school, it would be illogical to find that such
 3   rights include freedom from all risk of discomfort from face coverings, especially considering CCSD’s
 4   Policy is designed to protect the health of all students and staff.
 5           Second, Plaintiffs are not likely to succeed on their claim for relief under the Fourteenth
 6   Amendment alleging a violation of the privileges and immunities clause (Second Claim for Relief) as
 7   this claim is based on a purported constitutional right to an “unhindered” education free of masks
 8   which simply does not exist. Plaintiffs have not established they have a constitutional right to attend
 9   school without a mask during a pandemic. Moreover, Plaintiffs have not demonstrated that CCSD’s
10   Policy actually restricts education in any meaningful way. Accordingly, Plaintiffs do not have a
11   likelihood of succeeding on such a claim.
12              Third, Plaintiffs’ have not shown a likelihood of success based on the Due Process Clause
13   of the Fourteenth Amendment as set forth in their Third Claim for Relief. This claim is also premised
14   on a purported violation of parental rights that do not exist. CCSD’s mask mandate does not deprive
15   Plaintiffs of life, liberty, or property. Additionally, as explained above, “parents do not have a
16   fundamental due process right generally to direct how a public school teaches their child.” Fields v.
17   Palmdale School District, 447 F.3d 1187, 1190 (9th Cir. 2006). This has been recognized by other
18   circuits that have already ruled that school mask mandates do not run afoul of the Fourteenth
                   55
19   Amendment.
20           Finally, Plaintiffs are not likely to succeed on their claim alleging a violation of the Equal
21   Protection Clause of the Fifth and Fourteenth Amendments (Fifth Claim for Relief). Although it is
22   unclear from the Motion if Plaintiffs are seeking injunctive relief based on a perception that they will
                                                                    56
23   prevail on such a claim, the case law is not in their favor.        To state a claim against CCSD, Plaintiffs
24

25   55
        See Resurrection Sch. v. Hertel, No. 20-2256, 2021 WL 3721475, at *17 (6th Cir. Aug 23, 2021)(holding that
26      school mask mandates do not run afoul of the Fourteenth Amendment). Ninth Circuit precedent supports the
        same.
27   56
        An equal protection claim will not lie by “conflating all persons not injured into a preferred class receiving
        better treatment” than the plaintiff. Thornton v. City of St. Helens, 425 F.3d 1158, 1166 (9th Cir. 2005)
28      (quoting Joyce v. Mavromatis, 783 F.2d 56, 57 (6th Cir. 1986).
                                                            19
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 1   must allege sufficient facts to show that CCSD’s Policy treats Plaintiffs differently from other students
 2   enrolled within CCSD and that such disparate treatment either burdens a fundamental right, targets a
                                                   57
 3   suspect class, or has no rational basis.           Here, CCSD’s Policy applies only to students within Clark
 4   County School District as it has no authority to dictate rules in other school districts. Accordingly,
 5   Plaintiffs’ Fifth Claim for Relief cannot provide a basis for the relief requested. Moreover, the Ninth
 6   Circuit does not recognize the Equal Protection Clause as a means for challenging certain school
 7   decisions where those decisions apply equally to all students. See, e.g. Monteiro v. Tempe Union
 8   High School Dist., 158 F.3d 1022, 1028 (9th Cir. 1998); Parents for Privacy, 949 F.3d at 1217(finding
 9   the school’s transgender bathroom policy treated all students equally and thus, did not violate the
10   Equal Protection Clause”). Accordingly, Plaintiffs are unlikely to succeed on such a claim.
11   III.       PLAINTIFFS FAIL TO DEMONSTRATE THEY WILL SUFFER IRREPARABLE
12              HARM.
                Several factors weigh against a finding of irreparable harm. First, Plaintiffs’ delay in bringing
13
     and serving the instant Motion undercuts any assertion of urgency or irreparable harm. See Oakland
14
     Tribune, Inc. v. Chronicle Publishing Co. , 762 F.2d 1374, 1377 (9th Cir. 1985)(finding the delay in
15
     seeking relief relevant to the court’s consideration of whether to grant an injunction). EO 47 and
16
     CCSD’s Policy were announced late July 2021. Plaintiffs did not serve CCSD with the instant Motion
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     until September 23, 2021, almost 60 days later.                  That delay weighs against the issuance of a
18
     preliminary injunction in this case.
19
                Second, Plaintiffs’ alleged temporary inconveniences associated with wearing a mask do not
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     violate due process and do not rise to the level of irreparable harm.                 Indeed, the harms Plaintiffs
21
     identify after approximately 30 days of their children wearing masks at school include occasional
22
     headaches, a blood blister, anger when being told to wear a mask properly and difficulty hearing
23

24
     57
25        See SeaRiver Mar. Fin. Holdings, Inc., v. Mineta, 309 F.3d 662, 679 (9th Cir. 2002); see Ctr. For Bio-Ethical
          Reform, Inc. v. Napolitano, 648 F.3d 365, 379 (6th Cir. 2011).
26
     59
          See Parent Declarations attached to Plaintiffs’ Motion at Ex. 2. It is reasonable to assume that if masks were
27        causing irreparable harm to their children, Plaintiffs would have requested an accommodation or enrolled
          their child in virtual school or homeschool. Instead, the Motion states that the student Plaintiffs are attending
28        in-person school and complying with the school’s mask requirements. (Mot., 20:21-22).
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 1   teachers who wear masks.            Perhaps most perplexing is the contention that “masks create a threatening
 2   and unsafe environment for us all…it used to be you couldn’t walk into a bank or school with a mask
                                                                                                61
 3   on because the cops would be called…where did this common sense logic go?”                      The COVID-19
 4   pandemic with disruption of normal activities, and wide-spread illness and death, has been known to
 5   present mental health challenges. But there is no data presented by Plaintiffs to support a conclusion
 6   that the current public health measure designed to decrease transmission or risk of disease and allow
 7   students to return to in-person learning could be a driver of mental health decline.             Nevertheless,
 8   CCSD’s policy provides accommodations for students with documented medical and or
 9   developmental issues. Thus, Plaintiffs cannot demonstrate that CCSD’s Policy will cause irreparable
10   harm to the health of students.             Moreover, injunctive relief cannot be issued based on a mere
11   possibility of future injury. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (“Our
12   frequently reiterated standard requires plaintiffs seeking preliminary relief to demonstrate that
13   irreparable injury is likely in the absence of an injunction.”)
14              Similarly, Plaintiffs cannot demonstrate that perceived health risks or inconvenience violate
15   constitutional rights under these circumstances. As discussed above in Parents for Privacy, the Ninth
16   Circuit considered the constitutionality of a transgender school restroom policy and held it did not
17   violate students’ privacy. 949 F.3d at 1223 (finding the potential threat that a student might be seen
18   by someone of the opposite biological sex undressing in a locker room does not give rise to a
19   constitutional violation). Given this Circuit’s narrow interpretation of privacy rights at school, this
20   Court cannot find that such rights include freedom from all risk of discomfort from face coverings.
21   Id. at 1225, citing Caribbean Marine Servs. Co. v. Baldrige , 844 F.2d 668, 678 (9th Cir. 1988)(“in
22   cases in which privacy interests must be weighed against governmental interests, inconvenience and
23   slight discomfort that results from attempting to accommodate both interests are not enough to
24   establish a privacy violation).
25

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          See Branch-Noto Declaration, Plaintiffs’ Ex. 2
28   61
          See Paulson Declaration, Plaintiffs’ Ex. 2 at ¶10, 11.
                                                               21
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 1              Likewise, Plaintiffs cannot show a violation of substantive due process.           As a matter of law,
 2   Court have found that restrictions designed to save human lives from COVID-19 are not “conscious
 3   shocking.” See e.g. Disbar Corp. v. Newsom, No. 2:20-cv-02473, *5 (E.D. Cal. Dec. 22, 2020)
 4   (denying TRO of stay-at-home provisions finding they did not trigger a due process violation because
 5   the restrictions were designed to save lives); see Herrin v. Reeves, 2020 WL 5748090, at *9 (N.D.
 6   Miss. Sept. 25, 2020)(upholding stay-at-home orders and stating “this court finds the notion that
 7   restrictions designed to save human lives from COVID-19 are ‘conscious shocking’ to be absurd and
 8   not worthy of serious discussion); see Parker v. Wolf, No. 20-CV-1601, 2020 WL 7295831, at *15
 9   (M.D. Pa. Dec. 11, 2020)(finding COVID-19 mask mandate orders to be “at worst, minor and fleeting
10   inconveniences, especially when compared to the widespread infectiousness and death Defendants
11   credibly seek to avoid through these orders”). Accordingly, Plaintiffs are not likely to succeed in
12   demonstrating a constitutional injury.
13   IV.        THE BALANCE OF HARDSHIPS WEIGHS IN CCSD’S FAVOR, AS DOES THE
14              PUBLIC INTEREST
15              Plaintiffs’ notion that CCSD implemented its policy “to control Nevada’s students and families
16   and wreak havoc on their mental and physical health” is offensive to CCSD’s efforts. (Mot. 2:18-20).
17   CCSD’s Policy and other similar mandates allow students to safely resume in-person learning. As
18   demonstrated above, the absence of such measures increases school outbreaks and shutdowns and will
19   ultimately prolong the need for such measures. The public interests weigh in favor of maintaining safe
20   in-person learning for students.
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23         “To violate substantive due process, official conduct must “shock the conscience.” Porter v. Osborn, 546
          F.3d 1131, 1137 (9th Cir. 2008). The “shock-the-conscience” standard sets an extremely high bar, reserved
24        for “only the most egregious official conduct.”             Cty. of Sacramento v. Lewis, 523 U.S. 833,
          846 (1998); Breithaupt v. Abram, 352 U.S. 432, 435 (1957) (holding conduct shocks the conscience when it
25        is so “brutal” and “offensive” as to not “comport with traditional ideas of fair play and decency”). Examples
          of qualifying conduct include defendants’ shooting a man in the head and killing him, defendants’ shooting
26        a man in the head and chest such that they permanently impaired his mental faculties, or defendants’ allowing
          a child to be sexually molested. See Porter 546 F.3d at 1135; see Ovando v. City of L.A., 92 F. Supp. 2d
27        1011, 1015 (C.D. Cal. 2000); see Doe v. Dickenson, 615 F. Supp. 2d 1002, 1013 (D. Ariz. 2009).
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 1                                              CONCLUSION
 2           Based on the foregoing, this Court should deny Plaintiffs’ request for injunctive relief.
 3                   DATED this 8th day of October 2021.
 4
                                                               GREENBERG TRAURIG, LLP
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 1                                     CERTIFICATE OF SERVICE
 2           I hereby certify that on October 8, 2021, I caused a true and correct copy of the foregoing
 3   CCSD’S Response In Opposition To Plaintiffs’ Emergency Motion For Preliminary Injunction
 4   [ECF #8] to be electronically filed with the Clerk of the Court using the Court’s CM/ECF system.
 5   Notice of filing will be served on all parties by operation of the Court’s EM/ECF system, and parties
 6   may access this filing through the Court’s CM/ECF system.
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 8
                                                            /s/ Andrea Lee Rosehill
 9                                                          An employee of GREENBERG TRAURIG, LLP
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